

People v Poindexter (2015 NY Slip Op 08963)





People v Poindexter


2015 NY Slip Op 08963


Decided on December 8, 2015


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 8, 2015

Sweeny, J.P, Acosta, Andrias, Moskowitz, JJ.


16333 3463/12

[*1] The People of the State of New York, Respondent, —
vMichael Poindexter, Defendant-Appellant.


Seymour W. James, Jr., The Legal Aid Society, New York (Andrew C. Fine of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Hope Korenstein of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Laura A. Ward, J.), rendered on or about December 5, 2012,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
ENTERED: DECEMBER 8, 2015
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








